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Lawyers for State Farm Fire
   and Casualty Company



                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA
                             AT ANCHORAGE


MEREDITH McDANIEL-STROH  )
                         )
          Plaintiff,     )       Case No. 3:10-cv-_______-___
                         )
     vs.                 )
                         )
STATE FARM FIRE AND      )
CASUALTY COMPANY,        )       NOTICE OF REMOVAL
                         )
          Defendant.     )
_________________________)


TO:   The United States District Court for the District of Alaska
      Gregory J. Grebe

      You are hereby notified that, pursuant to 28 U.S.C. §§ 1332,
1441 and 1446, Defendant State Farm Fire and Casualty Company

("State Farm") has this day filed in the United States District

Court for the District of Alaska this Notice of Removal to the

United States District Court of the action brought by Meredith

McDaniel-Stroh in the Superior Court for the State of Alaska,

Third Judicial District at Anchorage, Case No. 3AN-10-5966 Civil.
You are also notified that Defendant State Farm has filed a copy




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of this notice with the Clerk of the Superior Court for the Third

Judicial District at Anchorage, and that said action has thereby

been    removed     from    the    Superior        Court   to   the     United   States

District Court (attached and incorporated as Exhibit A).

       The   ground    for        removal     is    diversity      of    citizenship.

28 U.S.C. §§ 1332, 1441.

       Plaintiff seeks compensatory and punitive damages in excess

of     $75,000.      (See    Complaint,       attached       and   incorporated      as
Exhibit B.)       Thus, the requirement that the amount in controversy

exceed the sum of $75,000, exclusive of interest and costs, is

satisfied.    28 U.S.C. § 1332(a).

       Based on the above, this Court has original jurisdiction

over this action, and Defendant State Farm is entitled to remove

this action to this Court from the Superior Court for the State

of Alaska.    28 U.S.C. §§ 1332, 1441, 1446.

       DATED at Anchorage, Alaska, this 4th day of May, 2010.

                                        BLISS, WILKENS & CLAYTON
                                        Lawyers for State Farm


                                        By:    s/James K. Wilkens
                                               500 L Street, Suite 200
                                               Anchorage, AK 99501
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       CERTIFICATE OF SERVICE

I hereby certify that on this 4th day
of May, 2010, a copy of the foregoing
document was served electronically on:

Gregory J. Grebe
Law Offices of Gregory J. Grebe
1400 W. Benson Blvd., Suite 120
Anchorage, AK 99503

s/James K. Wilkens

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